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          Mayor's Office of Housing                          and Community Development

                             City and            County          of San         Francisco




                                                                                                                Mark    Farrell


                                                                                                                          Mayor



                                                                                                                Kate Hartley

                                                                                                                        Director




May 18 2018




Monetta White            David      Lawrence

Food For Soul         dba 1300         on Fillmore

1310    Fillmore Street          706
San Francisco         CA 94115




        Re       Acknowledgement                     of Vacation        of the     Premises under the Commercial

                 Lease    Agreement              entered       into     as of June       6 2005       by and between      the

                 City   and County of San Francisco                          acting through          the   Mayor's Office

                 of Housing and                Community Development                      as successor       Landlord   to


                 Fillmore Development                      Commercial LLQ the Commercial                        Lease




Dear   Ms     White   and    Mr Lawrence


        The    City acting through                   the   Mayor's      Office of Housing            and Community

Development       MOHCD                 as     Landlord        under the Commercial Lease writes                   to


acknowledge       your May          14 2018            email     in   which you provided written notice                to the


City of   your   intent   to vacate            the    Premises          By

May    25 2018        please      complete           the following           steps to vacate         the   Premises and

terminate your Commercial Lease




                             oil   mum   VIN    ING IVIIII RPM        POP oil   PPIN11111 IN 01112

                        P11111   111711 1111    PIN 10 7111111    fit   1117111112   11111 0111119 V9
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    1 Remove         any perishable         items from the              Premises including                   all    items    in



        refrigerators or freezers


    2   Clean   the    Premises

    3   Provide   Landlord         current       account     numbers           for   all    utilities       currently servicing

        the Premises including              water sewer PGE and                      alarm         service         as applicable

        and

    4   Provide   Landlord         with   all    keys


Per Section     22 1   of the Commercial Lease                    all    alterations             additions         and

improvements         to the    Premises as well as             all      movable furniture and trade fixtures

funded from the Tenant              Loan must            not be    removed from                  the    Premises except as

allowed    pursuant     to the      Tenant Loan



Termination of the Commercial Lease                        does    not remove the Tenant's                          financial


obligations incurred          during the term of the Commercial                                 Lease       Specifically

Tenant     has not     met the following obligations under the Commercial Lease



        Section   41     Rent



        Tenant    has not      paid   rent       since    May 2016          The       total       rent      unpaid during the

term of the Commercial Lease                    is   as follows

        Total   amount     of unpaid rent due                as of      May 2018            is   160 937 50
                June 2016 through October                     2017        17   months            at    6250 00            reduced

                rent as agreed to by Landlord                     and Tenant               in   January      2016         for a total


                amount        of   106 2 50 00
                November 2017 through                     March         2018    7    months            at   125      of    6250 00
                for a total        amount       of    54687 50



2       Section   101     Tenant to Pay               for Utilities




        Tenant    has not      paid   for trash          and recycling services                  from the trash

collection    provider    Recology              and owes     approximately                 41 361 51               for   such

services   as of March        2018        Tenant       has   not paid      for      water and sewer services                       from
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the San       Francisco     Public   Utilities   Commission and owes approximately                                2881 09
for   such services        as of March     2018




3           Section    72   Tenant's     Payment of Taxes Relating                    to the Premises




           Tenant     has not    paid   property taxes          due    to the   San Francisco              Tax     Collector

in   the    amount     of approximately          84 399 92        as of March               2018




4           Section    122     Payment by Tenant of Proportionate                          Share of      Common Area
Maintenance           Costs



           Tenant     has not    paid   Common         Area Maintenance               and other related amounts

due    to the    Fillmore Heritage        Owners        Association       in    the    amount         of   80 451 31              due

as of      May 2018




Pursuant to Section            19 12    of the Commercial              Lease Tenant must pay                     all   amounts

due under the Commercial Lease within ten                         10     days    after           Landlord's   notice

Accordingly           please   remit    payment       for the    unpaid rent          in    the    amount     of

160 937 50            by   May 28 2018           In   addition    to   payment         of the       unpaid rent         to the


Landlord        please     provide     documentation        of    payment       for        all   other   amounts        listed


above        or evidence       of communication          with    payees regarding                 payment     plans for

such overdue amounts



MOHCD          as Landlord       writes this letter without waiving                   any rights




Sincerely




Kate       Hartley

Director
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cc    Nadia Sesay Executive     Director    Office of   Community Investment   and

Infrastructure

         Successor   Agency   to the   San Francisco    Redevelopment Agency

      Heidi   Gewertz   City Attorney's   Office
